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HENRY c. CAST, ) t"€.’ay@§`€?;;;>/~
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)
vs_ ) Civil Action No. 05-1098-T An
)
Jo ANNE B. BARNHART, )
coMMIssIoNER or )
soCrAL SECURITY, )
)
Defendant )

FINAL IUDGMENT REVERSING COMMISSIONER AND
ORDERING REMAND UNDER SENTENCE FOUR OF 42 U.S.C. 5 405 (H)

Aiter reviewing the above-captioned case, agency counsel requested that the Appeals Council
undertake further review of this case, which it agreed to do. Accordingly, the parties jointly propose
that this case be reversed and remanded pursuant to sentence four of 42 U.S.C. § 405(g) for further
consideration and a new hearing

IT lS THEREFORE ORDERED that the Commissioner’s decision is reversed and the matter

remanded under sentence four of 42 U.S.C. § 405(g) for further development. Upon remand, the

Appeals Council will instruct the administrative law judge (“ALJ”) to conduct a new hearing and
issue a new decision, wherein he will properly evaluate the opinion of Plaintiff’ s treating physician,
Dr. Cannon, and specifically articulate the reasons for the Weight given to such opinion. On
December 2(), 2003, Dr. Cannon opined that Plaintiff could not sit, stand, walk, or sit for extended
periods oftime. The ALJ did not mention Dr. Cannon or indicate what weight, if any, was given to
his opinion, nor did he include Dr. Cannon’s limitations within his residual functional capacity
finding (“RFC”). Also, it is not clear from Dr. Cannon’s opinion the extent to which he believes
Plaintift"s standing, walking or sitting is limited. Therefore, upon remand, the ALJ Wil] also be

instructed to re-eontact Dr. Cannon for clarification of his opinion regarding Plaintift"s limitations.

Thls document entered on the docket a ln compliance
with Rute 58 and,'or_?Q (a) FHCP on

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Upon clarifying and properly evaluating Dr. Cannon’s opinion, the ALJ will be instructed to re-
evaluate Plaintiff’s residual functional capacity (“RFC”). Additiona]ly, the Appeals Council will
direct the ALJ to re-evaluate Plaintiff’s ability to perform her past relevant work. The ALJ found
that Plaintiff could perform his past work as an auto/diesel truck mechanic and a shop supervisor for
leasing and repairing trucks. Hovvever, because the ALJ has to re-evaluate Plaintiff`s RFC, it
naturally follows that, upon remand, the ALJ will need to re-evaluate Plaintiff’ s ability to perform
his past relevant work taking into account his new RFC finding . ln doing so, the Appeals Council
will instruct the ALJ to explicitly compare Plaintiff’s RFC With the demands of his past relevant

work. The Appeals Council Will also instruct the ALJ to properly evaluate Plaintiff’ s ability to

perform other work if it is determined that Plaintiff is unable to perform his past relevant work.

Upon remand, the Commissioner shall take action consistent with the foregoing

 

SO ORDERED.
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Date Jamesf§l Todd
United States District Court Judge
APPROVED BY:

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This notice confirms a copy ofthe document docketed as number 12 in
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Honorable .l ames Todd
US DISTRICT COURT

